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 June 20, 2023
 By Electronic Filing
 Honorable Rukhsanah L. Singh, U.S.M.J.
 United States District Court for the District of New Jersey
 402 East State Street
 Court Room 7W
 Trenton, NJ 08608


 Dear Judge Singh:

        This firm represents Plaintiff John Doe in the above-captioned matter. We write on behalf
 of the parties in response to Your Honor’s June 6, 2023 Order requiring the parties to “file a
 proposed amended scheduling order by no later than 6/20/2023.” The parties have agreed to a
 proposed sixty-five day extension of time to complete fact discovery and to extend all subsequent
 discovery deadlines accordingly.

        The current fact discovery deadline is June 27, 2023, with Plaintiff’s expert reports due on
 July 31, 2023; Defendant’s expert reports due on August 28, 2023; and the deadline for all expert
 discovery set to September 29, 2023.

         The sixty-fiveday extension is needed to enable the parties to complete document
 disclosure and fact witness depositions – which have not yet commenced. Princeton was unable
 to search, review, and produce Doe’s Princeton.edu emails until Doe confirmed which emails he
 was asserting privilege over on June 2. Princeton does not dispute any of Doe’s privilege claims
 at this time. Further, Your Honor’s recent June 6, 2023 discovery order necessitated further
 document collection, review, and production from Doe for which Doe needs additional time.

         If granted, the proposed extension would change the fact discovery deadline to August 31,
 2023; the due date for Plaintiff’s expert reports to October 4, 2023, the due date for Defendant’s
 expert reports to November 1, 2023; and the deadline for all expert discovery to December 4, 2023.
 We have enclosed a proposed amended scheduling order.

           Thank you for your consideration.

                                                                      Respectfully yours,
                                                                      /s/ Jewel K. Tewiah
 CC: All Counsel of Record




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